Case 1:20-cv-21108-UU Document 87 Entered on FLSD Docket 08/11/2020 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                   CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                         HON. URSULA UNGARO

               Plaintiffs,                                 CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Since the last status report of July 27, 2020, there are no further updates on the

 status of the service package that has been delivered to Beijing.               Undersigned

 requested that our service vendor prepare an affidavit to supplement a motion for an

 extension of time to serve Defendants that we will file with the Court. However, the

 affidavit was just received today, and Plaintiff’s motion will be filed this week.

        Respectfully submitted this 11th day of August, 2020.

                                     By: /s Matthew T. Moore
                                     Matthew T. Moore, Esq.
                                     Fla. Bar No. 70034
                                     Primary: mmoore@thebermanlawgroup.com
                                     Secondary: service@thebermanlawgroup.com

                                     Vincent J. Duffy, Esq.
Case 1:20-cv-21108-UU Document 87 Entered on FLSD Docket 08/11/2020 Page 2 of 2
                                                              CASE NO. 1:20-cv-21108-UU


                                     Fla. Bar No. 82151
                                     Primary: service@thebermanlawgroup.com
                                     Secondary: vduffy@thebermanlawgroup.com

                                     THE LAW OFFICES OF
                                     BERMAN & BERMAN, P.A.
                                     P.O. Box 272789
                                     Boca Raton, FL 33427
                                     Telephone: (561) 826-5200
                                           Fax: (561) 826-5201

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 August 11, 2020, with the Court’s CM/ECF filing system, which shall cause an email

 notice to be sent to all parties of record in this matter.



                                     By: /s Matthew T. Moore
                                     Matthew T. Moore, Esq.
                                     Fla. Bar No. 70034
